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          2. Four Audio Calls between Members and Associates of MS-13 are Admissible

        As referenced in the Government’s January 19, 2024 letter, (see Dkt. 664 at 2), the
Government also seeks to offer portions of certain audio calls that were lawfully intercepted by
Honduran authorities in or around 2015 in connection with a Honduran investigation into MS-13,
and specifically, Mendoza. The relevant portions of these calls, which are between Mendoza and
other members and associates of MS-13                                         , are admissible as
co-conspirator statements pursuant to Rule 801(d)(2)(E) and are summarized below and referenced
by their Government Exhibit number: 6

             1. GX 403. On or about June 5, 2015, Mendoza and an unidentified female (“CC-1”)
                had a call during which Mendoza discussed that the defendant’s presidency was not
                going to last for much longer because a phone conversation had been intercepted
                with “Bonilla” [i.e., Tigre Bonilla] during which it was discussed that the defendant
                had received millions of dollars from Hector Emilio and the Valles.

             2. GX 404. On or about June 19, 2015, Mendoza and Campbell had a call during
                which Mendoza told Campbell, in sum and substance, that the defendant had
                assigned an elite team of police to try to kill a drug trafficker, Bayron Ruiz, who
                had worked with the defendant and his brother, Tony Hernandez, in order to prevent
                that trafficker from being arrested by U.S. authorities and potentially exposing them
                if he chose to cooperate against them.

             3. GX 405. On or about September 29, 2015, Mendoza, Campbell, and Anwar had a
                call during which they discussed that the Cachiros were now in custody in New
                York and were playing a “cat and mouse” game because they had given up all the
                “routes” that “the President” (i.e., the defendant) had given them as part of “the
                deal.”

             4. GX 406. On or about November 18, 2015, Mendoza, Anwar, and others had a call
                in which they discussed, in sum and substance, a particular route that they could
                use to send money and other items in trucks across the border and stated that “Tigre
                Bonilla” previously had let “contraband” cross the border for $5,000.

       For substantially the same reasons as those discussed above with respect to statements the
Government seeks to offer                                  , each of the portions of the intercepted
audio calls described above is admissible pursuant to Rule 801(d)(2)(E). As described above, MS-
13 worked with members of the charged conspiracy, including Bonilla and members of the
Cachiros and Valles DTO, to traffic drugs. The participants on these four calls, who include
Mendoza, Campbell, and Anwar, are thus the defendant’s co-conspirators, satisfying the
requirement that the statement(s) be made by a member of the conspiracy. See Fed. R. Evid.
801(d)(2)(E).



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    The Government has provided these marked audio calls to the defense, along with translations.
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       The substance of each of the calls also supports that they were made in furtherance of the
charged conspiracies.

        First, GX 403 is admissible under Rule 801(d)(2)(E). In GX 403, Mendoza described to
CC-1 that the defendant’s presidency might end soon because “Bonilla”—a reference to Tigre
Bonilla—had been intercepted on another call discussing that the defendant had received millions
of dollars in bribes from Hector Emilio and the Valles, Honduran drug traffickers. As described
above, and in the Government’s initial motions in limine, the Government expects that the
evidence at trial will show that Bonilla and the Valles worked with the defendant and his co-
conspirators to traffic narcotics throughout Honduras and into the United States and, in return, the
defendant received bribes from the Valles for the defendant’s first presidential campaign. The
Government further intends to offer evidence that MS-13 and its gang members helped protect the
defendant’s co-conspirators and their drug trafficking activities. Mendoza’s update to CC-1,
therefore, was plainly meant to “apprise a co-conspirator of the progress of the conspiracy,” United
States v. Rahme, 813 F.2d 31, 36 (2d Cir. 1987), and to advise CC-1 that the defendant’s
administration, and the protection for their drug trafficking activities, may soon come to an end.

        Second, in GX 404, Mendoza provided Campbell with an update on the status of the
conspiracy; in particular, that the defendant had arranged for a particular drug trafficker, Bayron
Ruiz, to be killed so that he would not be arrested and cooperate with U.S. authorities, thereby
exposing the defendant and his brother, Tony Hernandez, to criminal liability. 7 On its face, this
conversation, in which Mendoza described that Ruiz had worked with the defendant and his
brother, and the defendant’s efforts to ensure that the conspiracy’s operations were not exposed,
was plainly meant to “apprise a co-conspirator of the progress of the conspiracy,” Rahme, 813 F.2d
at 36, and also to identify members of the conspiracy, see, e.g., United States v. Delligatti, No. 15
Cr. 491, 2018 WL 1033242, at *6 (S.D.N.Y. Feb. 23, 2018) (“[S]tatements that convey information
about others in the same organized crime syndicate are considered to be during and in furtherance
of a conspiracy.”). Moreover, this intercepted conversation was exchanged and discussed by two
other members of the conspiracy, Geovanny Fuentes Ramirez and “Comisionado Martinez,” a
corrupt former Honduran National Police official.               More specifically, in electronic
communications between Fuentes Ramirez and Martinez, which took place on or about February
25, 2020 and which the Government introduced at the Fuentes Ramirez trial and the Court already
ruled are admissible at this trial, (see Dkt. 554 at 88-90; Dkt. 671 at 30-31), the two discuss how
the wiretaps became public and Martinez sent Fuentes Ramirez a voice note containing a portion
of GX 404. In discussing the call, Martinez said “it’s a shitshow,” to which Ramirez responded,
“Yes, it’s going to be a disaster. It’s going to be a f*cking disaster.” This conversation between
co-conspirators, approximately five years after the date of GX 404 and when that intercepted call
became public, further demonstrates the connection between what is discussed on this call and the
conspiracy, particularly given that Fuentes Ramirez and Martinez are discussing the negative
impact that this call could have on the conspiracy itself.


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  On March 30, 2017, Ruiz was charged in the Eastern District of New York with cocaine
importation and firearms charges. See United States v. Ruiz, 17 Cr. 172 (ILG), Dkt. 1 (Mar. 30,
2017). Ruiz pled guilty to the charges in his indictment and was sentenced on September 10, 2021
to five years’ imprisonment. (See id. at Dkt. 55, 56.)
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         Third, GX 405 is admissible for similar reasons. In GX 405, as described above, members
and associates of MS-13 were discussing the status of the Cachiros, who had been taken into
custody in the United States, and they appear to be referencing drug routes that “the President,”
(i.e., the defendant), had previously given to the Cachiros as part of their “deal.” As described in
the Government’s prior motions in limine, the Cachiros paid bribes to the defendant to obtain
control of certain drug routes. The reference to a “cat and mouse” game appears to be a reference
to the Cachiros’ cooperation. Here, too, the purpose of the call was plainly to provide an update
on the status of the conspiracy to members of MS-13 and to “convey information about others in
the same organized crime syndicate.” Delligatti, 2018 WL 1033242, at *6.

        Fourth, GX 406 is also admissible under Rule 801(d)(2)(E) because it is between members
of the conspiracy discussing how to send trucks with contraband across the Honduran border. In
doing so, the participants identify Bonilla as an individual that would previously permit contraband
to cross the border in exchange for money. These statements, which concern how the gang would
get contraband from one place to another and who the gang could rely on for that purpose, were
therefore intended to “prompt the listener to respond in a way that facilitates the carrying out of
criminal activity.” Beech-Nut Nutrition Corp., 871 F. 2d at. Indeed, by identifying Bonilla as a
corrupt officer who had previously assisted MS-13 (
                                             ), members of the conspiracy could know who to trust
to carry out their criminal activity. These statements were thus clearly in furtherance of the
conspiracy.

         Finally, each of the portions of the calls summarized above is highly probative and their
probative value far outweighs any potential for unfair prejudice that may result from their
admission. The defendant is charged with participating in a large-scale international drug
conspiracy that involved the highest levels of Honduran government and law enforcement officials
who conspired with drug traffickers to send drugs to the United States. The first two calls, which
squarely relate to the defendant’s involvement in the charged drug conspiracy, could not be more
probative: GX 404 concerns the defendant’s efforts to conceal his involvement in the drug
conspiracy by attempting to kill a drug trafficker that could cooperate with U.S. authorities and
GX 405 concerns drug routes that the defendant had given to the Cachiros. GX 406, which
concern’s Bonilla’s involvement in accepting corrupt payments to abuse his official position and
allow contraband to cross the border, also directly implicates Bonilla—a former Chief of the
Honduran National Police, who the Government alleges committed a murder to protect Tony
Hernandez’s drug territory—in precisely the type of conduct alleged by the Government that
facilitated this drug conspiracy. As such, the probative value of each of these calls is significant.
On the other hand, the potential for unfair prejudice is minimal, particularly given the other
evidence the jury will hear in this case concerning murders carried out in furtherance of the drug
conspiracy, including by cooperating witnesses, and corrupt payments made to high-level
government officials. See, e.g., United States v. Miller, 116 F.3d 641, 682 (2d Cir. 1997) (evidence
of uncharged violent acts not unfairly prejudicial); see also Dkt. 671 at 9-10, 25-26 (finding that
evidence of bribes paid to protect drug shipments is admissible and also that “evidence that Bonilla
murdered Victim-1 at Tony Hernandez’s direction” is not “excludable under 403 because it’s
evidence of the operations of the conspiracy, and it bears on the nature, structure, roles in the
conspiracy”). As such, in addition to being admissible under the hearsay rules, these calls also
unquestionably pass a Rule 403 balancing test.
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        Accordingly, for the reasons set forth above, the Government respectfully requests that
                                                                 the Court, in advance of trial, find
that the statement and calls described above are admissible at trial.

                                                            Respectfully submitted,

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